JOHN G. BULLOCK, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Bullock v. CommissionerDocket No. 40692.United States Board of Tax Appeals27 B.T.A. 440; 1932 BTA LEXIS 1065; December 28, 1932, Promulgated *1065  The cost of moving a dwelling house from a lot in a business district to another in a residential district is not deductible as a business expense.  A. Calder Mackay, Esq., and Thomas R. Dempsey, Esq., for the petitioner.  J. M. Leinenkugel, Esq., for the respondent.  SMITH *440  The respondent has determined a deficiency in petitioner's income tax for the calendar year 1924 in the amount of $7,763.28, all of which is in controversy.  The only error alleged is the refusal of the respondent to allow a deduction of an item of $16,854 representing the cost to the petitioner of moving a dwelling house.  FINDINGS OF FACT.  During 1924 the petitioner was, and still is, the president and principal owner of a large department store in Los Angeles, California.  Also, in 1924 the petitioner was the owner of several parcels of real estate in Los Angeles from which he derived some income.  In 1922 the petitioner purchased, at a cost not shown by the evidence, a parcel of real estate and a dwelling house containing 15 or 16 rooms, at the corner of Wilshire Boulevard and Vermont Avenue.  This locality was then changing in character from residential*1066  to business, so that the property in question was no longer desirable for residential purposes.  The petitioner purchased it as a business investment, without any intention of using it for residential purposes.  He was then living at his residence on Ardmore Avenue.  In 1924 the petitioner acquired three lots on Plymouth Boulevard, an exclusive residential street, and in that year moved the dwelling house from Wilshire Boulevard and Vermont Avenue to a location on one of the lots on Plymouth Boulevard.  The cost of moving the house in 1924 was $16,854, exclusive of the repairs that were later made.  In 1925 the petitioner moved the house in which he was living on Ardmore Avenue to another of the lots on Plymouth Boulevard.  While this was being done he took up his residence on Plymouth Boulevard in the house which he had moved from Wilshire Boulevard and Vermont Avenue.  He had no intention then of making that his permanent home, but expected to return to his Ardmore Avenue house as soon as it had been made ready for occupancy at its new location on Plymouth Boulevard.  However, at some time *441  during 1925 the petitioner decided to make his permanent home in the Wilshire*1067  Boulevard and Vermont Avenue house and offered the Ardmore Avenue house for sale.  After removal of the dwelling house, advertising signs were placed on the lot at Wilshire Boulevard and Vermont Avenue and a considerable income was received from the owners of such signs.  OPINION.  SMITH: The petitioner claims the deduction of the cost of moving the house from Wilshire Boulevard and Vermont Avenue to Plymouth Boulevard, amounting to $16,854, in the year 1924 as an ordinary and necessary business expense of that year.  The respondent has determined that the cost of moving the house is a capital expenditure and is therefore not deductible in computing the petitioner's net income for 1924, but must be added to the cost of the property for the purpose of determining the gain or loss upon its subsequent sale or other disposition.  Section 214(a)(1) of the Revenue Act of 1924 authorizes the deduction from gross income of all the ordinary and necessary expenses paid or incurred during the taxable year in carrying on any trade or business.  Section 215(a)(2) of the act provides that in computing net income no deduction shall be allowed in respect of any amount paid out for new buildings*1068  or for permanent improvements or betterments made to increase the value of any property or estate.  The facts here clearly show that the cost of moving the dwelling from Wilshire Boulevard and Vermont Avenue to Plymouth Boulevard falls within that class of expenditures referred to in section 215, that is, that it was an amount paid out for permanent improvements or betterments made to increase the value of the petitioner's property, as distinguished from an ordinary and necessary business expense.  The petitioner testified that he moved the hosue with the idea of renting or selling it in its new location and also for the purpose of rendering the lot on Wilshire Boulevard and Vermont Avenue more available for business purposes.  The cases cited by the petitioner, involving for the most part expenditures incurred in moving machinery from one location to another, are not in point.  There is an obvious distinction between moving machinery and tools from one factory or place of business to another and moving a 15 or 16-room dwelling house from a business section to a residential section.  We think that the respondent has properly classified the expenditure in question as a capital*1069  expenditure, although from the record we are unable to determine whether the amount should be added in whole or in part to the cost of the lot at Wilshire Boulevard and *442  Vermont Avenue or to the property on Plymouth Boulevard now occupied by the petitioner as his permanent residence.  The record indicates that the value of both of these properties was increased.  However, this question is not before us in this proceeding and need not be decided.  Judgment will be entered for the respondent.